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----
                                      UNITED STATES DISTRICT COURT
                                                                                                                FILED
                                                                for the
                                                     Southern District of Illinois
                                                                                                               JAN 19 2018
                                                                                                      CLERK US
                                                                                                    SOUTHERN 'ois~~rRICT COURT
                                                                  )                                        BENTON o~;lg~ ILLINOIS
                                                                  )
                                                                  )

                                                                  )
                                     Plaintiff
                                                                  )
                                                                          Case Number:      J~~tv-ll6 -rnJ!Z -~w
                                                                  )                          (Clerk' s Office will provide)
                                                                  )
                                                                  )
                                                                  )
                                                                  )
                                   Defendant(s)




                                        PRO SE CIVIL RIGHTS COMPLAINT
                                                  (Non-Prisoner)
        I.            JURISDICTION

                      Subject matter jurisdiction is invoked under 28 U.S.C. § 1331, 28 U.S.C. § 1343(a)(3),
                      and/or 42 U.S.C. § 1983. List any additional bases for federal subject matter jurisdiction
                      here:




        II.           PARTIES

                      Plaintiff:

                      A.     Plaintiff, a c itizen of         r-;-LJ'
                                                              '-1-u f1 0 1..S               (state), who          resides at

                             ~ l 3q'9 l,j. ~@rM C               fZl :nforn{DoiJ<I(l.i.l         jl{ , a lleges that his/her
                                                                                          v~Ji91J
                             c ivil rights were violated by the individua l(s) named be low.

                      Defendant #1:

                      B.     Defendant       --~Z""''f,__5-=-_..!....A:
                                                                 . . t:.___________                     is emp loyed as
                                                     (a)      (Name of First Defendant)


                                                     (b)              (Position/Title)




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                     with   ----'-'<l~~·j"'-(c).:J=O---:-----:---:-:---:------
                                                      (Employer's Name and Address)




                     At the time the claim(s) alleged this complaint arose, was Defendant # I employed
                     by the state, local, or federal government? ~ Yes 0 No

                     If your answer is YES, briefly explain:




                               This defendant personally participated in causing my injury, and I want
                               money damages.

                               The policy or custom of this official 's government agency violates my
                     D         rights, and I seek injunctive relief(to stop or require someone to something).



               Defendant #2:

               C.    Defendant - - - - - -----=---- - - -- - - - i s employed as
                                              (Name of Second Defendant)



                                                      (Positionffitle)


                     with _ _ __ _ _-=~-77~-~~~------------
                                              (Employer's Name and Address)




                     At the time the claim(s) alleged in this complaint arose, was Defendant #2 employed
                     by the state, local, or federal government? 0 Yes 0 No

                     If you answer is YES, briefly explain:



                     Check one of the following:


                     D       This defendant personally participated in causing my injury, and I want
                             money damages.

                             The policy or custom of this official 's government agency violates my
                     D       rights, and I seek injunctive relief(to stop or require someone to something).

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               Defendant #3:

               D.     Defendant ------=-:---:-:::-:-:-::--:--..,..-..,..- - - - - - -- is employed as
                                             (Name of Third Defendant)



                                                      (Pos it ion/Title)


                      with
                             --------:---~--..,..----------------
                                             (Employer's Name and Address)




                      At the time the claim(s) alleged in this complaint arose, was Defendant #3 employed
                      by the state, local, or federal government? 0 Yes 0 No

                      If you answer is YES, briefly explain:



                      Check one of the following:


                      D       This defendant personally participated in caus ing my injury, and I want
                              money damages.

                              The policy or custom of this official's government agency violates my
                      D       rights, and I seek injunctive relief(to stop or require someone to something).


               Additional Defendant(s) (if any) :

               E.     Using the outline set forth above, identify any additional Defendant(s), using
                      additional pages, ifnecessary.




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  III.           PREVIOUS LAWSUITS

                 A.   Have you begun any other lawsuits in this federal court?
                                 ~Yes 0 No

                 B.   lfyour answer to "A" is YES, describe each lawsuit in the space be low. If there is
                      more than one lawsuit, you must describe the additional lawsuits on another sheet of
                      paper using the same outline.


                      I.     Parties to previous lawsuits:

                                     Plaintiff(s):

                                ~ 6<ne 5 C.a""V~i (
                                     Defe ndant(s):




                      2.     Case number:
                             ~ 1~ -~CR4 ~ S m~- Sc\.\
                      3.     Name of Judge to whom case was assigned:

                              LTv.~~~       5i'~f      ~'    lf £h>'DL.~
                      4.     Dispos ition of case (for example: Was the case d ismissed? Was it appealed?
                             Is it still pend ing?):




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  IV.         STATEMENT OF CLAIM

              State here, as briefly as possible, when, where, how, and by whom you feel your
              constitutional rights were violated . Do not include legal arguments or citations. If you wish
              to present legal arguments or citations, file a separate memorandum of law. lfyou intend
              to allege several related claims, number and set forth each claim in a separate paragraph.




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  V.           REQUEST FOR RELIEF (check as many boxes as appropriate)

               Plaintiff requests that the court grant the fo llowing relief:

                       Compensatory damages in the amount of$         &0 OO'D, 0{)(),
                                                                           1
                                                                                             ~

                       Punitive damages in the amount of$         at{ CJOD/)Ou , ~
                       An ordering requiring defe nda nt(s) to:




                       A dec la ration that:

                        rit·~Pt CAL. mit~ PfUrenc c / ~AJ~rJG r:t<L                 :v i.-.4-~
                        ?z..lt.SoNA-L.. r,;4u. ~ y

                       Othe r:




  VI.          JURY DEMAND (check one box below)

               Plaintiff 0does orfi?J does not request a trial by j ury.




                DECLARATION UNDER FEDERAL RULE OF CIVIL PROCEDURE 11

  I certify to the best of my knowledge, information, and belief, that this complaint is in fu ll
  compliance w ith Rule II (a) and ll(b) of the Federal Rules of Civil Procedure. The undersigned also
  recognizes that fa ilure to comply with R ule II may result in sanctions.




  Signed on:          J,. 11 - /8
                                 (date)

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                       Street Address                                          Printed Nam

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                      C ity, State, Zip


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